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                                 10                          UNITED STATES DISTRICT COURT
                                 11
                                                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 12
                                        MEGHAN DOWNING, individually              CASE NO.:
                                 13
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                                        and on behalf of all others similarly
                                        situated,
                                 14                                                      CLASS ACTION COMPLAINT
                                                            Plaintiff,                1. VIOLATIONS OF THE
                                 15
                                              v.                                         AMERICANS WITH
                                 16                                                      DISABILITIES ACT OF 1990, 42
                                 17     FELDMAR WATCH CO., INC., a                       U.S.C. §12181
                                        California corporation; and DOES 1            2. VIOLATIONS OF THE UNRUH
                                 18     to 10, inclusive,                                CIVIL RIGHTS ACT
                                 19                                                      DEMAND FOR JURY TRIAL
                                                           Defendants.
                                 20
                                 21
                                              Plaintiff Meghan Downing (“Plaintiff”), individually and on behalf of all
                                 22
                                        others similarly situated, brings this action based upon personal knowledge as to
                                 23
                                        herself and her own acts, and as to all other matters upon information and belief,
                                 24
                                        based upon, inter alia, the investigations of her attorneys.
                                 25
                                                                  NATURE OF THE ACTION
                                 26
                                              1.     Plaintiff is a visually-impaired and legally blind individual who
                                 27
                                        requires screen-reading software to read website content using her computer.
                                 28
                                                                                  1
                                                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1     Plaintiff uses the terms “blind” or “visually-impaired” to refer to all people with
                                  2     visual impairments who meet the legal definition of blindness in that they have a
                                  3     visual acuity with correction of less than or equal to 20 x 200. Some blind people
                                  4     who meet this definition have limited vision. Others have no vision.
                                  5           2.     Plaintiff, individually and on behalf of those similarly situated persons
                                  6     (hereafter “Class Members”), brings this Class Action to secure redress against
                                  7     Feldmar Watch Co., Inc. (hereafter “Defendant”), and DOES 1-10, for its failure to
                                  8     design, construct, maintain, and operate its website to be fully and equally
                                  9     accessible to and independently usable by Plaintiff and other blind or visually-
                                 10     impaired people. Defendant’s denial of full and equal access to its website, and
                                 11     therefore denial of its products and services offered thereby and in conjunction with
                                 12     its physical location, is a violation of Plaintiff’s rights under the Americans with
                                 13     Disabilities Act (“ADA”) and California’s Unruh Civil Rights Act (“UCRA”).
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                                 14           3.     Because Defendant’s website, https://www.feldmarwatch.com/ (the
                                 15     “Website” or “Defendant’s website”), is not fully or equally accessible to blind and
                                 16     visually-impaired consumers in violation of the ADA, Plaintiff seeks a permanent
                                 17     injunction to cause a change in Defendant’s corporate policies, practices, and
                                 18     procedures so that Defendant’s website will become and remain accessible to blind
                                 19     and visually-impaired consumers.
                                 20                                       THE PARTIES
                                 21           4.     Plaintiff, at all times relevant and as alleged herein, is a resident of the
                                 22     County of Santa Barbara.          Plaintiff is a legally blind, visually-impaired,
                                 23     handicapped person, and a member of a protected class of individuals under the
                                 24     ADA, pursuant to 42 U.S.C. § 12102(1)-(2), and the regulations implementing the
                                 25     ADA set forth at 28 CFR §§ 36.101 et seq.
                                 26           5.     Defendant is a California corporation, with its headquarters in Los
                                 27     Angeles, California. Defendant’s servers for the website are in the United States.
                                 28     Defendant conducts a large amount of its business in California, and the United
                                                                                   2
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                                  1     States as a whole.       Defendant’s showroom constitutes a place of public
                                  2     accommodation. Defendant’s showroom provides to the public important goods
                                  3     and services. Defendant’s website provides consumers with access to the “latest
                                  4     technological advancements and collections from the most highly sought-after
                                  5     brands.” Consumers can also access information regarding Defendant’s showroom
                                  6     location and hours of operation, scheduling appointments, pre-owned watches,
                                  7     available brands, service & repair, Defendant’s blog, social media accounts, career
                                  8     opportunities, and press information.
                                  9           6.     Plaintiff is unaware of the true names, identities, and capacities of each
                                 10     Defendant sued herein as DOES 1 to 10. Plaintiff will seek leave to amend this
                                 11     complaint to allege the true names and capacities of DOES 1 to 10 if and when
                                 12     ascertained. Plaintiff is informed and believes, and thereupon alleges, that each
                                 13     Defendant sued herein as a DOE is legally responsible in some manner for the
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                                 14     events and happenings alleged herein and that each Defendant sued herein as a DOE
                                 15     proximately caused injuries and damages to Plaintiff as set forth below.
                                 16           7.     Defendant’s showroom is a public accommodation within the
                                 17     definition of Title III of the ADA, 42 U.S.C. § 12181(7).
                                 18           8.     The Website, https://www.feldmarwatch.com/, is a service, privilege,
                                 19     or advantage of Defendant’s services, products, and location.
                                 20                              JURISDICTION AND VENUE
                                 21           9.     This Court has subject matter jurisdiction over the state law claims
                                 22     alleged in this Complaint pursuant to the Class Action Fairness Act, 28 U.S.C.
                                 23     §1332(d)(2)(A) because: (a) the matter in controversy exceeds the sum of $5
                                 24     million, exclusive of interest and costs; and (b) some of the class members are
                                 25     citizens of a state (California) that is different from the state of citizenship of
                                 26     Defendant (New York).
                                 27           10.    Defendant is subject to personal jurisdiction in this District. Defendant
                                 28     has been and continues to commit the acts or omissions alleged herein in the Central
                                                                                  3
                                                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1     District of California, that caused injury, and violated rights prescribed by the ADA
                                  2     and UCRA, to Plaintiff and to other blind and other visually-impaired consumers.
                                  3     A substantial part of the acts and omissions giving rise to Plaintiff’s claims occurred
                                  4     in the Central District of California. Specifically, on several separate occasions,
                                  5     Plaintiff has been denied the full use and enjoyment of the facilities, goods, and
                                  6     services of Defendant’s website in Santa Barbara County. The access barriers
                                  7     Plaintiff has encountered on Defendant’s website have caused a denial of Plaintiff’s
                                  8     full and equal access multiple times in the past and now deter Plaintiff on a regular
                                  9     basis from accessing Defendant’s website. Similarly, the access barriers Plaintiff
                                 10     has encountered on Defendant’s website have impeded Plaintiff’s full and equal
                                 11     enjoyment of goods and services offered at Defendant’s brick-and mortar location.
                                 12           11.    This Court also has subject-matter jurisdiction over this action
                                 13     pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise
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                                 14     under Title III of the ADA, 42 U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.
                                 15           12.    This Court has personal jurisdiction over Defendant because it
                                 16     conducts and continues to conduct a substantial and significant amount of business
                                 17     in the State of California, County of Santa Barbara, and because Defendant’s
                                 18     offending website is available across California.
                                 19           13.    Venue is proper in the Central District of California pursuant to 28
                                 20     U.S.C. § 1391 because Plaintiff resides in this District, Defendant conducts and
                                 21     continues to conduct a substantial and significant amount of business in this District,
                                 22     Defendant is subject to personal jurisdiction in this District, and a substantial
                                 23     portion of the conduct complained of herein occurred in this District.
                                 24       THE AMERICANS WITH DISABILITIES ACT AND THE INTERNET
                                 25           14.    The Internet has become a significant source of information, a portal,
                                 26     and a tool for conducting business, doing everyday activities such as shopping,
                                 27     learning, banking, researching, as well as many other activities for sighted, blind,
                                 28     and visually-impaired persons alike.
                                                                                   4
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                                  1           15.    In today's tech-savvy world, blind and visually-impaired people have
                                  2     the ability to access websites using keyboards in conjunction with screen access
                                  3     software that vocalizes the visual information found on a computer screen. This
                                  4     technology is known as screen-reading software.        Screen-reading software is
                                  5     currently the only method a blind or visually-impaired person may use to
                                  6     independently access the internet. Unless websites are designed to be read by
                                  7     screen-reading software, blind and visually-impaired persons are unable to fully
                                  8     access websites, and the information, products, and services contained thereon.
                                  9           16.    Blind and visually-impaired users of Windows operating system-
                                 10     enabled computers and devices have several screen-reading software programs
                                 11     available to them. Some of these programs are available for purchase and other
                                 12     programs are available without the user having to purchase the program separately.
                                 13     Job Access With Speech, otherwise known as “JAWS,” is currently the most
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                                 14     popular, separately purchased and downloaded screen-reading software program
                                 15     available for a Windows computer.
                                 16           17.    For screen-reading software to function, the information on a website
                                 17     must be capable of being rendered into text. If the website content is not capable
                                 18     of being rendered into text, the blind or visually-impaired user is unable to access
                                 19     the same content available to sighted users.
                                 20           18.    The international website standards organization, the World Wide
                                 21     Web Consortium, known throughout the world as W3C, has published Success
                                 22     Criteria for version 2.1 of the Web Content Accessibility Guidelines ("WCAG 2.1"
                                 23     hereinafter). WCAG 2.1 are well-established guidelines for making websites
                                 24     accessible to blind and visually-impaired people. These guidelines are adopted,
                                 25     implemented, and followed by most large business entities who want to ensure their
                                 26     websites are accessible to users of screen-reading software programs. Though
                                 27     WCAG 2.1 has not been formally adopted as the standard for making websites
                                 28
                                                                                 5
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                                  1     accessible, it is one of, if not the most, valuable resource for companies to operate,
                                  2     maintain, and provide a website that is accessible under the ADA to the public.
                                  3             19.   Within this context, the Ninth Circuit has recognized the viability of
                                  4     ADA claims against commercial website owners/operators with regard to the
                                  5     accessibility of such websites. Robles v. Domino’s Pizza, LLC, Docket No. 17-
                                  6     55504 (9th Cir. Apr 13, 2017), Court Docket No. BL-66. This is in addition to the
                                  7     numerous courts that have already recognized such application.
                                  8             20.   Each of Defendant’s violations of the Americans with Disabilities Act
                                  9     is likewise a violation of the Unruh Civil Rights Act. Indeed, the Unruh Civil Rights
                                 10     Act provides that any violation of the ADA constitutes a violation of the Unruh
                                 11     Civil Rights Act. Cal. Civ. Code, § 51(f).
                                 12             21.   Further, Defendant’s actions and inactions denied Plaintiff full and
                                 13     equal access to their accommodations, facilities, and services.        A substantial
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                                 14     motivating reason for Defendant to deny Plaintiff access was the perception of
                                 15     Plaintiff’s disability.   Defendant’s denial of Plaintiff’s accessibility was a
                                 16     substantial motivating reason for Defendant’s conduct. Plaintiff was harmed due
                                 17     to Defendant’s conduct. Defendant’s actions and inactions were a substantial factor
                                 18     in causing the lack of access to Plaintiff. Unruh Civil Rights Act. Cal. Civ. Code,
                                 19     § 51.
                                 20             22.   Inaccessible or otherwise non-compliant websites pose significant
                                 21     access barriers to blind and visually-impaired persons.           Common barriers
                                 22     encountered by blind and visually impaired persons include, but are not limited to,
                                 23     the following:
                                 24                   a. A text equivalent for every non-text element is not provided;
                                 25                   b. Title frames with text are not provided for identification and
                                 26                      navigation;
                                 27                   c. Equivalent text is not provided when using scripts;
                                 28                   d. Forms with the same information and functionality as for sighted
                                                                                  6
                                                         CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1                   persons are not provided;
                                  2                e. Information about the meaning and structure of content is not
                                  3                   conveyed by more than the visual presentation of content;
                                  4                f. Text cannot be resized without assistive technology up to 200
                                  5                   percent without loss of content or functionality;
                                  6                g. If the content enforces a time limit, the user is not able to extend,
                                  7                   adjust or disable it;
                                  8                h. Web pages do not have titles that describe the topic or purpose;
                                  9                i. The purpose of each link cannot be determined from the link text
                                 10                   alone or from the link text and its programmatically determined link
                                 11                   context;
                                 12                j. One or more keyboard operable user interface lacks a mode of
                                 13                   operation where the keyboard focus indicator is discernible;
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                                 14                k. The default human language of each web page cannot be
                                 15                   programmatically determined;
                                 16                l. When a component receives focus, it may initiate a change in
                                 17                   context;
                                 18                m. Changing the setting of a user interface component may
                                 19                   automatically cause a change of context where the user has not been
                                 20                   advised before using the component;
                                 21                n. Labels or instructions are not provided when content requires user
                                 22                   input;
                                 23                o. In content which is implemented by using markup languages,
                                 24                   elements do not have complete start and end tags, elements are not
                                 25                   nested according to their specifications, elements may contain
                                 26                   duplicate attributes and/or any IDs are not unique;
                                 27                p. Inaccessible Portable Document Format (PDFs); and
                                 28                q. The name and role of all User Interface elements cannot be
                                                                               7
                                                      CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1                     programmatically determined; items that can be set by the user
                                  2                     cannot be programmatically set; and/or notification of changes to
                                  3                     these items is not available to user agents, including assistive
                                  4                     technology.
                                  5                              FACTUAL BACKGROUND
                                  6           23.   Defendant offers the https://www.feldmarwatch.com/ website to the
                                  7     public. The website offers features which should allow all consumers to access the
                                  8     goods and services which Defendant offers in connection with its physical location.
                                  9     The goods and services offered by Defendant include, but are not limited to, the
                                 10     following, which allow consumers to access luxury timepieces for the following
                                 11     fine brands: Accutron, Baume & Mercier, Bell & Ross, Breitling, Glashutte
                                 12     Original, Grand Seiko, G-Shock, Hamilton, Junghans, Longines, Montblanc,
                                 13     NOMOS, Omega, Oris, Seiko, TAG Heuer, TUDOR, Zenith, and Zodiac.
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                                 14     Defendant’s website also allows consumers to shop from a pre-owned collection of
                                 15     watches, access information regarding Defendant’s showroom location and hours
                                 16     of operation, scheduling appointments, service and repair information, Defendant’s
                                 17     blog, social media accounts including Twitter, Facebook, Instagram, LinkedIn, and
                                 18     YouTube, career opportunities, and press information.
                                 19           24.   Based on information and belief, it is Defendant’s policy and practice
                                 20     to deny Plaintiff and Class Members, along with other blind or visually-impaired
                                 21     users, access to Defendant’s website, and to therefore specifically deny the goods
                                 22     and services that are offered and integrated with Defendant’s store.       Due to
                                 23     Defendant’s failure and refusal to remove access barriers on its website, Plaintiff
                                 24     and other visually-impaired persons have been and are still being denied equal and
                                 25     full access to Defendant’s showroom and the numerous luxury watches, services,
                                 26     and benefits offered to the public through Defendant’s Website.
                                 27     DEFENDANT’S BARRIERS ON UNRUH CIVIL RIGHTS ACT. CAL. CIV.
                                 28        CODE, § 51(f) DENY PLAINTIFF AND CLASS MEMBERS ACCESS
                                                                                 8
                                                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1           25.    Plaintiff is a visually-impaired and legally blind person, who cannot
                                  2     use a computer without the assistance of screen-reading software. However,
                                  3     Plaintiff is a proficient user of the JAWS or NV ACCESS screen-reader(s) as well
                                  4     as Mac’s VoiceOver and uses it to access the internet. Plaintiff has visited
                                  5     https://www.feldmarwatch.com/ on several separate occasions using the JAWS
                                  6     and/or VoiceOver screen-readers.
                                  7           26.    During Plaintiff’s numerous visits to Defendant’s website, Plaintiff
                                  8     encountered multiple access barriers which denied Plaintiff full and equal access to
                                  9     the facilities, goods, and services offered to the public and made available to the
                                 10     public on Defendant’s website. Due to the widespread access barriers Plaintiff and
                                 11     Class Members encountered on Defendant’s website, Plaintiff and Class Members
                                 12     have been deterred, on a regular basis, from accessing Defendant’s website.
                                 13     Similarly, the access barriers Plaintiff has encountered on Defendant’s website have
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                                 14     deterred Plaintiff and Class Members from visiting Defendant’s physical location.
                                 15           27.    While attempting to navigate Defendant’s website, Plaintiff and Class
                                 16     Members encountered multiple accessibility barriers for blind or visually-impaired
                                 17     people that include, but are not limited to, the following:
                                 18                  a. Lack of Alternative Text (“alt-text”), or a text equivalent. Alt-text
                                 19                     is invisible code embedded beneath a graphic or image on a website
                                 20                     that is read to a user by a screen-reader. For graphics or images to
                                 21                     be fully accessible for screen-reader users, it requires that alt-text
                                 22                     be coded with each graphic or image so that screen-reading
                                 23                     software can speak the alt-text to describe the graphic or image
                                 24                     where a sighted user would just see the graphic or image. Alt-text
                                 25                     does not change the visual presentation, but instead a text box
                                 26                     shows when the cursor hovers over the graphic or image. The lack
                                 27                     of alt-text on graphics and images prevents screen-readers from
                                 28                     accurately vocalizing a description of the image or graphic. As a
                                                                                  9
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                                  1                  result, Plaintiff and Class Members who are blind and visually-
                                  2                  impaired customers are unable to access the luxury timepieces
                                  3                  available online and in store for purchase. Consumers are also
                                  4                  unable to access information regarding , pre-owned watches,
                                  5                  available brands, service & repairs, showroom location and hours,
                                  6                  Defendant’s Blog, social media accounts, career opportunities,
                                  7                  press information, schedule an appointment, or complete any
                                  8                  purchases;
                                  9               b. Empty Links that contain No Text causing the function or purpose
                                 10                  of the link to not be presented to the user. This can introduce
                                 11                  confusion for keyboard and screen-reader users;
                                 12               c. Redundant Links where adjacent links go to the same URL address
                                 13                  which results in additional navigation and repetition for keyboard
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                                 14                  and screen-reader users; and
                                 15               d. Linked Images missing alt-text, which causes problems if an image
                                 16                  within a link does not contain any descriptive text and that image
                                 17                  does not have alt-text. A screen reader then has no content to
                                 18                  present the user as to the function of the link, including information
                                 19                  or links for and contained in PDFs.
                                 20         28.   Recently in 2021, Plaintiff attempted to do business with Defendant
                                 21   on Defendant’s website and Plaintiff encountered barriers to access on Defendant’s
                                 22   website.      Plaintiff   has   visited        prior   iterations   of   the   website,
                                 23   https://www.feldmarwatch.com/, and also encountered barriers to access on
                                 24   Defendant’s website.
                                 25         29.   Despite past and recent attempts to do business with Defendant on its
                                 26   website, the numerous access barriers contained on the website and encountered by
                                 27   Plaintiff, have denied Plaintiff full and equal access to Defendant’s website.
                                 28   Plaintiff and Class Members, as a result of the barriers on Defendant’s website,
                                                                                10
                                                     CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1   continue to be deterred on a regular basis from accessing Defendant’s website.
                                  2   Likewise, based on the numerous access barriers Plaintiff and Class Members have
                                  3   been deterred and impeded from the full and equal enjoyment of goods and services
                                  4   offered in Defendant’s showroom and from making purchases at such physical
                                  5   location.
                                  6         DEFENDANT MUST REMOVE BARRIERS TO ITS WEBSITE
                                  7         30.    Due to the inaccessibility of the Defendant’s website, blind and
                                  8   visually-impaired customers such as Plaintiff, who need screen-readers, cannot
                                  9   fully and equally use or enjoy the facilities and services Defendant offers to the
                                 10   public on its website. The access barriers Plaintiff has encountered have caused a
                                 11   denial of Plaintiff’s full and equal access in the past and now deter Plaintiff on a
                                 12   regular basis from accessing the website.
                                 13         31.    These access barriers on Defendant’s website have deterred Plaintiff
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                                 14   from visiting Defendant’s physical location and enjoying them equal to sighted
                                 15   individuals because: Plaintiff was unable to find the location and hours of operation
                                 16   of Defendant’s showroom on its website, preventing Plaintiff from visiting the
                                 17   location to view and purchase products and/or services.         Plaintiff and Class
                                 18   Members intend to visit the Defendant’s location in the near future if Plaintiff and
                                 19   Class Members could access Defendant’s website.
                                 20         32.    If the website were equally accessible to all, Plaintiff and Class
                                 21   Members could independently navigate the website and complete a desired
                                 22   transaction, as sighted individuals do.
                                 23         33.    Plaintiff, through Plaintiff’s attempts to use the website, has actual
                                 24   knowledge of the access barriers that make these services inaccessible and
                                 25   independently unusable by blind and visually-impaired people.
                                 26         34.    Because simple compliance with WCAG 2.1 would provide Plaintiff
                                 27   and Class Members who are visually-impaired consumers with equal access to the
                                 28   website, Plaintiff and Class Members allege that Defendant engaged in acts of
                                                                                11
                                                      CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1   intentional discrimination, including, but not limited to, the following policies or
                                  2   practices: constructing and maintaining a website that is inaccessible to visually-
                                  3   impaired individuals, including Plaintiff and Class Members; failing to construct
                                  4   and maintain a website that is sufficiently intuitive so as to be equally accessible to
                                  5   visually-impaired individuals, including Plaintiff and Class Members; and failing
                                  6   to take actions to correct these access barriers in the face of substantial harm and
                                  7   discrimination to blind and visually-impaired consumers, such as Plaintiff and Class
                                  8   Members, as a member of a protected class.
                                  9         35.    The Defendant uses standards, criteria or methods of administration
                                 10   that have the effect of discriminating or perpetuating the discrimination against
                                 11   others, as alleged herein.
                                 12         36.    The ADA expressly contemplates the injunctive relief that Plaintiff
                                 13   seeks in this action. In relevant part, the ADA requires:
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                                 14
                                            In the case of violations of … this title, injunctive relief shall include
                                 15         an order to alter facilities to make such facilities readily accessible to
                                 16         and usable by individuals with disabilities …. Where appropriate,
                                            injunctive relief shall also include requiring the … modification of a
                                 17         policy …. 42 U.S.C. § 12188(a)(2).
                                 18
                                            37.    Because Defendant’s website has never been equally accessible, and
                                 19
                                      because Defendant lacks a corporate policy that is reasonably calculated to cause
                                 20
                                      the Defendant’s website to become and remain accessible, Plaintiff invokes 42
                                 21
                                      U.S.C. § 12188(a)(2) and seeks a permanent injunction requiring the Defendant to
                                 22
                                      retain a qualified consultant acceptable to Plaintiff to assist Defendant to comply
                                 23
                                      with WCAG 2.1 guidelines for Defendant’s website.             The website must be
                                 24
                                      accessible for individuals with disabilities who use desktop computers, laptops,
                                 25
                                      tablets, and smartphones. Plaintiff and Class Members seek that this permanent
                                 26
                                      injunction require Defendant to cooperate with the agreed-upon consultant to: train
                                 27
                                      Defendant’s employees and agents who develop the website on accessibility
                                 28
                                                                                12
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                                  1   compliance under the WCAG 2.1 guidelines; regularly check the accessibility of
                                  2   the website under the WCAG 2.1 guidelines; regularly test user accessibility by
                                  3   blind or vision-impaired persons to ensure that the Defendant’s website complies
                                  4   under the WCAG 2.1 guidelines; and develop an accessibility policy that is clearly
                                  5   disclosed on the Defendant’s website, with contact information for users to report
                                  6   accessibility-related problems and require that any third-party vendors who
                                  7   participate on the Defendant’s website to be fully accessible to the disabled by
                                  8   conforming with WCAG 2.1.
                                  9         38.    If Defendant’s website were accessible, Plaintiff and Class Members
                                 10   could independently access information about locations, hours, services offered,
                                 11   and goods available for online purchase.
                                 12         39.    Although Defendant may currently have centralized policies regarding
                                 13   maintaining and operating Defendant’s website, Defendant lacks a plan and policy
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                                 14   reasonably calculated to make Defendant’s website fully and equally accessible to,
                                 15   and independently usable by, blind and other visually-impaired consumers.
                                 16         40.    Defendant has, upon information and belief, invested substantial sums
                                 17   in developing and maintaining Defendant’s website, and Defendant has generated
                                 18   significant revenue from Defendant’s website. These amounts are far greater than
                                 19   the associated cost of making Defendant’s website equally accessible to visually
                                 20   impaired customers.
                                 21         41.    Without injunctive relief, Plaintiff and Class Members will continue to
                                 22   be unable to independently use Defendant’s website, violating their rights.
                                 23                           CLASS ACTION ALLEGATIONS
                                 24         42.    Plaintiff, on behalf of herself and all others similarly situated, seeks to
                                 25   certify a nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2), the Nationwide
                                 26   class is initially defined as follows:
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                                  1         all legally blind individuals who have attempted to access Defendant’s
                                            website by the use of a screen reading software during the applicable
                                  2         limitations period up to and including final judgment in this action.
                                  3         43.    The California class is initially defined as follows:
                                  4
                                            all legally blind individuals in the State of California who have
                                  5         attempted to access Defendant’s website by the use of a screen reading
                                  6         software during the applicable limitations period up to and including
                                            final judgment in this action.
                                  7
                                  8         44.    Excluded from each of the above Classes is Defendant, including any
                                  9   entity in which Defendant has a controlling interest, is a parent or subsidiary, or
                                 10   which is controlled by Defendant, as well as the officers, directors, affiliates, legal
                                 11   representatives, heirs, predecessors, successors, and assigns of Defendant. Also
                                 12   excluded are the judge and the court personnel in this case and any members of their
                                 13
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                                      immediate families. Plaintiff reserves the right to amend the Class definitions if
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                                 14   discovery and further investigation reveal that the Classes should be expanded or
                                 15   otherwise modified.
                                 16         45.    Numerosity: Fed. R. Civ. P. 23(a)(1). This action has been brought
                                 17   and may properly be maintained as a class action against Defendant under Rules
                                 18   23(b)(1)(B) and 23(b)(3) of the Federal Rules of Civil Procedure. While the exact
                                 19   number and identities of other Class Members are unknown to Plaintiff at this time,
                                 20   Plaintiff is informed and believes that there are hundreds of thousands of Members
                                 21   in the Class. Based on the number of customers who have visited Defendant’s
                                 22   California stores, it is estimated that the Class is composed of more than 10,000
                                 23   persons. Furthermore, even if subclasses need to be created for these consumers, it
                                 24   is estimated that each subclass would have thousands of Members. The Members
                                 25   of the Class are so numerous that joinder of all Members is impracticable and the
                                 26   disposition of their claims in a class action rather than in individual actions will
                                 27   benefit the parties and the courts.
                                 28         46.    Typicality: Plaintiff and Class Members’ claims are typical of the
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                                  1   claims of the Members of the Class as all Members of the Class are similarly
                                  2   affected by Defendant’s wrongful conduct, as detailed herein.
                                  3         47.    Adequacy: Plaintiff will fairly and adequately protect the interests of
                                  4   the Members of the Class in that they have no interests antagonistic to those of the
                                  5   other Members of the Class. Plaintiff has retained experienced and competent
                                  6   counsel.
                                  7         48.    Superiority: A class action is superior to other available methods for
                                  8   the fair and efficient adjudication of this controversy. Since the damages sustained
                                  9   by individual Class Members may be relatively small, the expense and burden of
                                 10   individual litigation makes it impracticable for the Members of the Class to
                                 11   individually seek redress for the wrongful conduct alleged herein. Furthermore, the
                                 12   adjudication of this controversy through a class action will avoid the potentially
                                 13   inconsistent and conflicting adjudications of the claims asserted herein. There will
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                                 14   be no difficulty in the management of this action as a class action. If Class treatment
                                 15   of these claims were not available, Defendant would likely unfairly receive
                                 16   thousands of dollars or more in improper revenue.
                                 17         49.    Common Questions Predominate: Common questions of law and fact
                                 18   exist as to all Members of the Class and predominate over any questions solely
                                 19   affecting individual Members of the Class. Among the common questions of law
                                 20   and fact applicable to the Class are:
                                 21                    i. Whether Defendant’s website, https://www.feldmarwatch.com/,
                                 22                       is inaccessible to the visually-impaired who use screen reading
                                 23                       software to access internet websites;
                                 24                   ii. Whether Plaintiff and Class Members have been unable to
                                 25                       access https://www.feldmarwatch.com/ through the use of
                                 26                       screen-reading software;
                                 27                  iii. Whether the deficiencies in Defendant’s website violate the
                                 28                       Americans with Disabilities Act of 1990, 42 U.S.C. § 12181 et
                                                                                15
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                                  1                       seq.;
                                  2                  iv. Whether the deficiencies in Defendant’s website violate the
                                  3                       California Unruh Civil Rights Act, California Civil Code § 51
                                  4                       et seq.;
                                  5                   v. Whether, and to what extent, injunctive relief should be imposed
                                  6                       on Defendant to make https://www.feldmarwatch.com/ readily
                                  7                       accessible to and usable by visually-impaired individuals;
                                  8                  vi. Whether Plaintiff and Class Members are entitled to recover
                                  9                       statutory damages with respect to Defendant’s wrongful
                                 10                       conduct; and
                                 11                  vii. Whether further legal and/or equitable relief should be granted
                                 12                       by the Court in this action.
                                 13         50.    The class is readily definable, and prosecution of this action as a Class
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                                 14   action will reduce the possibility of repetitious litigation. Plaintiff knows of no
                                 15   difficulty which will be encountered in the management of this litigation which
                                 16   would preclude their maintenance of this matter as a Class action.
                                 17         51.    The prerequisites to maintaining a class action for injunctive relief or
                                 18   equitable relief pursuant to Rule 23(b)(2) are met, as Defendant has acted or refused
                                 19   to act on grounds generally applicable to the Class, thereby making appropriate final
                                 20   injunctive or equitable relief with respect to the Class as a whole.
                                 21         52.    The prerequisites to maintaining a class action for injunctive relief or
                                 22   equitable relief pursuant to Rule 23(b)(3) are met, as questions of law or fact
                                 23   common to the Class predominate over any questions affecting only individual
                                 24   Members; and a class action is superior to other available methods for fairly and
                                 25   efficiently adjudicating the controversy.
                                 26         53.    The prosecution of separate actions by Members of the Class would
                                 27   create a risk of establishing inconsistent rulings and/or incompatible standards of
                                 28   conduct for Defendant. Additionally, individual actions may be dispositive of the
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                                  1   interest of all Members of the Class, although certain Class Members are not parties
                                  2   to such actions.
                                  3         54.    Defendant’s conduct is generally applicable to the Class as a whole
                                  4   and Plaintiff seeks, inter alia, equitable remedies with respect to the Class as a
                                  5   whole. As such, Defendant’s systematic policies and practices make declaratory
                                  6   relief with respect to the Class as a whole appropriate.
                                  7                                        COUNT I
                                  8      VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT, 42
                                  9                                 U.S.C. § 12181 ET SEQ.
                                 10         (On Behalf of Plaintiff, the Nationwide Class, and the California Class)
                                 11         55.    Plaintiff alleges and incorporates herein by reference each and every
                                 12   allegation contained in paragraphs 1 through 54, inclusive, of this Complaint as if
                                 13   set forth fully herein.
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                                 14         56.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq.,
                                 15   provides: “No individual shall be discriminated against on the basis of disability in
                                 16   the full and equal enjoyment of the goods, services, facilities, privileges,
                                 17   advantages, or accommodations of any place of public accommodation by any
                                 18   person who owns, leases (or leases to), or operates a place of public
                                 19   accommodation.” 42 U.S.C. § 12182(a).
                                 20         57.    Under Section 302(b)(2) of Title III of the ADA, unlawful
                                 21   discrimination also includes, among other things: “a failure to make reasonable
                                 22   modifications in policies, practices, or procedures, when such modifications are
                                 23   necessary to afford such goods, services, facilities, privileges, advantages, or
                                 24   accommodations to individuals with disabilities, unless the entity can demonstrate
                                 25   that making such modifications would fundamentally alter the nature of such goods,
                                 26   services, facilities, privileges, advantages or accommodations”; and “a failure to
                                 27   take such steps as may be necessary to ensure that no individual with a disability is
                                 28   excluded, denied services, segregated or otherwise treated differently than other
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                                  1   individuals because of the absence of auxiliary aids and services, unless the entity
                                  2   can demonstrate that taking such steps would fundamentally alter the nature of the
                                  3   good, service, facility, privilege, advantage, or accommodation being offered or
                                  4   would result in an undue burden.” 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii). “A public
                                  5   accommodation shall take those steps that may be necessary to ensure that no
                                  6   individual with a disability is excluded, denied services, segregated or otherwise
                                  7   treated differently than other individuals because of the absence of auxiliary aids
                                  8   and services, unless the public accommodation can demonstrate that taking those
                                  9   steps would fundamentally alter the nature of the goods, services, facilities,
                                 10   privileges, advantages, or accommodations being offered or would result in an
                                 11   undue burden, i.e., significant difficulty or expense.” 28 C.F.R. § 36.303(a). In
                                 12   order to be effective, auxiliary aids and services must be provided in accessible
                                 13   formats, in a timely manner, and in such a way as to protect the privacy and
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                                 14   independence of the individual with a disability.” 28 C.F.R. § 36.303(c)(1)(ii).
                                 15         58.     Defendant’s location is a “public accommodation” within the meaning
                                 16   of 42 U.S.C. § 12181 et seq. Defendant generates millions of dollars in revenue
                                 17   from the sale of its amenities and services, privileges, advantages, and
                                 18   accommodations in California through its location, related services, privileges,
                                 19   advantages,          and       accommodations,            and          its        Website,
                                 20   https://www.feldmarwatch.com/,       is   a    service,   privilege,    advantage,      and
                                 21   accommodation provided by Defendant that is inaccessible to customers who are
                                 22   visually-impaired like Plaintiff.    This inaccessibility denies visually-impaired
                                 23   customers full and equal enjoyment of and access to the facilities and services,
                                 24   privileges, advantages, and accommodations that Defendant made available to the
                                 25   non-disabled public. Defendant is violating the Americans with Disabilities Act,
                                 26   42 U.S.C. § 12181 et seq., in that Defendant denies visually-impaired customers the
                                 27   services,     privileges,   advantages,   and      accommodations            provided   by
                                 28   https://www.feldmarwatch.com/. These violations are ongoing.
                                                                                18
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                                  1         59.    Defendant’s actions constitute intentional discrimination against
                                  2   Plaintiff and Class Members on the basis of a disability in violation of the
                                  3   Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. in that: Defendant has
                                  4   constructed a website that is inaccessible to Plaintiff and Class Members; maintains
                                  5   the website in this inaccessible form; and has failed to take adequate actions to
                                  6   correct these barriers even after being notified of the discrimination that such
                                  7   barriers cause.
                                  8         60.    Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights
                                  9   set forth and incorporated therein, Plaintiff requests relief as set forth below.
                                 10                                        COUNT II
                                 11     VIOLATIONS OF THE UNRUH CIVIL RIGHTS ACT, CALIFORNIA
                                 12                               CIVIL CODE § 51 ET SEQ.
                                 13                      (On Behalf of Plaintiff and the California Class)
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                                 14         61.    Plaintiff alleges and incorporates herein by reference each and every
                                 15   allegation contained in paragraphs 1 through 60, inclusive, of this Complaint as if
                                 16   set forth fully herein.
                                 17         62.    Defendant’s location is a “business establishment” within the meaning
                                 18   of the California Civil Code § 51 et seq. Defendant generates millions of dollars in
                                 19   revenue from the sale of its services in California through its store location and
                                 20   related services, and https://www.feldmarwatch.com/ is a service provided by
                                 21   Defendant that is inaccessible to customers who are visually-impaired like Plaintiff
                                 22   and Class Members. This inaccessibility denies visually-impaired customers full
                                 23   and equal access to Defendant’s facilities and services that Defendant makes
                                 24   available to the non-disabled public. Defendant is violating the Unruh Civil Rights
                                 25   Act, California Civil Code § 51 et seq., in that Defendant is denying visually-
                                 26   impaired customers the services provided by https://www.feldmarwatch.com/.
                                 27   These violations are ongoing.
                                 28         63.    Defendant’s actions constitute intentional discrimination against
                                                                                19
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                                  1   Plaintiff and Class Members on the basis of a disability in violation of the Unruh
                                  2   Civil Rights Act, Cal. Civil Code § 51 et seq. in that: Defendant has constructed a
                                  3   website that is inaccessible to Plaintiff and Class Members; maintains the website
                                  4   in this inaccessible form; and has failed to take adequate actions to correct these
                                  5   barriers even after being notified of the discrimination that such barriers cause.
                                  6         64.    Defendant is also violating the Unruh Civil Rights Act, California
                                  7   Civil Code § 51 et seq. in that the conduct alleged herein likewise constitutes a
                                  8   violation of various provisions of the ADA, 42 U.S.C. § 12101 et seq. Section 51(f)
                                  9   of the California Civil Code provides that a violation of the right of any individual
                                 10   under the ADA shall also constitute a violation of the Unruh Civil Rights Act.
                                 11         65.    The actions of Defendant were and are in violation of the Unruh Civil
                                 12   Rights Act, California Civil Code § 51 et seq., and, therefore, Plaintiff and Class
                                 13   Members are entitled to injunctive relief remedying the discrimination.
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                                 14         66.    Plaintiff and Class Members are also entitled to statutory minimum
                                 15   damages pursuant to California Civil Code § 52 for each and every offense.
                                 16         67.    Plaintiff and Class Members are also entitled to reasonable attorneys’
                                 17   fees and costs.
                                 18         68.    Plaintiff and Class Members are also entitled to a preliminary and
                                 19   permanent injunction enjoining Defendant from violating the Unruh Civil Rights
                                 20   Act, California Civil Code § 51 et seq., and requiring Defendant to take the steps
                                 21   necessary to make https://www.feldmarwatch.com/ readily accessible to and usable
                                 22   by visually-impaired individuals.
                                 23                                PRAYER FOR RELIEF
                                 24         WHEREFORE, Plaintiff, individually and on behalf of all Class Members,
                                 25   respectfully requests that the Court enter judgment in her favor and against
                                 26   Defendant as follows:
                                 27
                                 28
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                                  1         A.     For an Order certifying the Nationwide Class and California Class as
                                  2                defined herein and appointing Plaintiffs and her Counsel to represent
                                  3                the Nationwide Class and the California Class;
                                  4         B.     A preliminary and permanent injunction pursuant to 42 U.S.C. §
                                  5                12188(a)(1) and (2) and section 52.1 of the California Civil Code
                                  6                enjoining Defendant from violating the Unruh Civil Rights Act and
                                  7                ADA and requiring Defendant to take the steps necessary to make
                                  8                https://www.feldmarwatch.com/ readily accessible to and usable by
                                  9                visually-impaired individuals;
                                 10         C.     An award of statutory minimum damages of $4,000 per offense per
                                 11                person pursuant to section 52(a) of the California Civil Code.
                                 12         D.     For attorneys’ fees and expenses pursuant to California Civil Code §§
                                 13                52(a), 52.1(h), and 42 U.S.C. § 12205;
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                                 14         E.     For pre-judgment interest to the extent permitted by law;
                                 15         F.     For costs of suit; and
                                 16   G.    For such other and further relief as the Court deems just and proper.
                                 17                             DEMAND FOR JURY TRIAL
                                 18         Plaintiff, on behalf of herself and all others similarly situated, hereby
                                 19   demands a jury trial for all claims so triable.
                                 20
                                 21   Dated: July 21, 2021                              Respectfully Submitted,
                                 22
                                                                                        /s/ Thiago M. Coelho
                                 23                                                     Thiago M. Coelho
                                 24                                                     WILSHIRE LAW FIRM
                                                                                        Attorney for Plaintiff and
                                 25                                                     Proposed Class
                                 26
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